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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                      WEST PALM BEACH DIVISION
                                 Civil Action No. 9:18-cv-80086-DMM
   CHARLES WILDES, individually; FRANCISCO DORIA, individually;
   AKIVA KATZ, individually; JAMES GURRY, individually;
   RONALD NELSON, individually; and JUSTIN PERRY, individually;
   and on behalf of All Others Similarly Situated;
          Plaintiffs,
   v.
   BITCONNECT INTERNATIONAL PLC, a foreign corporation;
   BITCONNECT LTD., a foreign corporation;
   BITCONNECT TRADING LTD., a foreign corporation;
   JOSHUA JEPPESEN, an individual; GLENN ARCARO, an individual;
   TREVON BROWN a/k/a TREVON JAMES, an individual;
   RYAN HILDRETH, an individual; CRAIG GRANT, an individual;
   JOHN DOE NO. 1 a/k/a NICHOLAS TROVATO a/k/a CRYPTONICK, an individual;
   RYAN MAASEN, an individual; and JOHN DOE NOS. 2-10, individuals;
         Defendants.
   ________________________________________________/

                                        SCHEDULING ORDER

          Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and Local Rule 16.1(b)(3) of

   the Local Rules of the United States District Court of the Southern District of Florida, and upon

   consideration of the Scheduling Report filed by Plaintiffs ANDREW HODGES, VLADIMIR

   COOD, GAUTAM DESAI, JODY POWELL, JEFFREY HEBERLING, and SHAMMI

   NABUKUMAR, individually, and on behalf of all others similarly situated (“Plaintiffs”), 1 and the

   Court being fully advised in the premises, it is thereupon

          ORDERED AND ADJUDGED as follows:



   1
     As of the date of this filing, only one of the defendants has been located and served with process,
   though he has not yet responded to the Complaint. Plaintiffs have informed the Court that they are
   acting with all due diligence to locate and serve the remaining defendants. Upon good cause shown
   by any defendant served after the date of this Order, the Court will consider any timely-filed
   requests to modify the dates, discovery plan, and case management proposals set forth herein.
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                                        Case Management Track

                  This a Standard Track case as set forth in Local Rule 16.1(a)(2)(B).

                                        Trial Date and Location

          1.      This case is set for trial on the two-week calendar commencing:

                                          Monday, July 22, 2019

   Counsel for all parties shall appear at a Calendar Call commencing at 1:15 p.m. on:

                                         Thursday, July 18, 2019

   The trial is anticipated to last five (5) days. Unless instructed otherwise by subsequent order, the

   trial and all other proceedings in this case shall be conducted at the Paul G. Rogers Federal Building

   and U.S. Courthouse, 701 Clematis St., Second Floor - Courtroom 7, West Palm Beach, FL 33401.

                                             Motion Practice

          2.      Every pretrial motion filed in this case shall be accompanied by a proposed order

   granting the motion. The order shall contain an up-to-date service list of all attorneys in the case.

   Proposed orders should be submitted by e-mail to middlebrooks@flsd.uscourts.gov in Microsoft

   Word format. The e-mail subject line and the name of the attachment should include the case

   number and a short description of the attachment.

                                   Discovery and Pre-Trial Schedule

          3.      Pretrial discovery shall be conducted in accordance with Local Rules 16.1 and 26.1

   and the Federal Rules of Civil Procedure. No pretrial conference shall be held in this action, unless

   the Court determines, sua sponte, that a pretrial conference is necessary. In setting the following

   deadlines, the Court has considered Plaintiffs’ suggested discovery schedule. To the extent this

   Order conflicts with the Local Rules and the Court’s own “Order Setting Trial Date and Scheduling

   Conference” [DE 8], this Order supersedes the Local Rules and the earlier Order.




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                         DEADLINE OR EVENT                                     AGREED DATE

      Motion to Appoint Lead Plaintiff and Class Counsel                          April 13, 2018
      (pursuant to Private Securities Litigation Reform Act
      [PSLRA])
      Mandatory Initial Disclosures (pursuant to Fed.R.Civ.P.                     May 25, 2018
      26(a)(1), as amended effective December 1, 2000)
      Corporate Disclosure Statement                                              May 25, 2018

      Motion for Class Certification                                               July 27, 2018

      Motions to Add Parties or to Amend Pleadings                             September 7, 2018

      Fact Discovery Deadline                                                 November 20, 2018

      Disclosure of Expert Reports
             Plaintiff:                                                       December 7, 2018
             Defendants:                                                      December 20, 2018

      Expert Discovery Deadline                                                 January 25, 2019

      Dispositive Motions                                                      February 22, 2019

      Resolution by the Court of all Dispositive Motions                          April 17, 2019

      Daubert Motions                                                             April 30, 2019

      Mediation Cutoff                                                       Sixty (60) days before
                                                                             start of the trial’s two
                                                                                 week calendar

      Motions in Limine                                                           May 10, 2019

      Responses to Motions in Limine                                              May 24, 2019

      Mandatory Pretrial Stipulation                                              June 21, 2019

      Jury Instructions or                                                        June 21, 2019
      Proposed Findings of Fact and Conclusions of Law
      Voir Dire Questions                                                         Calendar Call

      Exhibit List for Court                                                    First day of Trial
                                                                              (impeachment excepted)




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                            DEADLINE OR EVENT                                         AGREED DATE

        Witness List for Court                                                         First day of Trial
                                                                                      (impeachment excepted)


                                    Mandatory Pre-Trial Stipulation

          4.      Counsel must meet at least one month prior to the beginning of the trial period to

   confer on the preparation of a Pretrial Stipulation in accordance with Local Rule 16.1E. A Pretrial

   Stipulation lacking substance will not be accepted. Any party causing a unilateral pretrial stipulation

   to be filed will be required to show cause why sanctions should not be imposed. Each attorney and

   each self-represented party is charged with the duty of complying with this Order. A motion for

   continuance shall not stay the requirement for the filing of the Pretrial Stipulation and, unless an

   emergency situation arises, a motion for continuance will not be considered unless it is filed at least

   twenty (20) days prior to the Calendar Call. Failure to comply with the time schedule may result in

   dismissal or other sanctions.

                               Consent to Trial Before Magistrate Judge

          5.      In light of the benefits offered by a trial before a magistrate judge, e.g., trial on a date

   certain as opposed to placement on a trial calendar, the parties are urged to consider this option. If

   the parties wish to employ this option and there is unanimity in favor of magistrate jurisdiction;

   Plaintiffs’ counsel, within twenty (20) days following the date of the last defendant’s filed response

   to    the    Complaint     in    this    matter,     shall     execute       the      form      (available      at

   http://www.fisd.uscourts.gov/default.asp?fi1e=generallforms.asp) entitled “Notice of Right to

   Consent to Disposition of a Civil Case by a United States Magistrate Judge,” and forward the

   original, executed form to each defendant’s counsel. After completion by the defendants or their

   counsel, the original form should be forwarded to the Clerk of the Court, West Palm Beach

   Division.



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                                                Mediation

          6.      Pursuant to Federal Rule of Civil Procedure 16 and Local Rule 16.2, this case is

   referred to mediation as follows:

               a. All parties are required to participate in mediation. The mediation shall be
                  completed no later than sixty (60) days before the scheduled trial date.

               b. Plaintiffs’ counsel, or another attorney agreed upon by all counsel of record and
                  any unrepresented parties, shall be responsible for scheduling the mediation
                  conference. The parties are encouraged to avail themselves of the services of
                  any mediator on the List of Certified Mediators, maintained in the office of the
                  Clerk of this Court, but may select any other mediator. The parties shall agree
                  upon a mediator and advise the Clerk’s Office of their choice in writing within
                  fourteen (14) days from the date of the last defendant’s filed response to the
                  Complaint in this matter. If there is no agreement, lead counsel shall promptly
                  notify the Clerk in writing; and the Clerk shall designate a mediator from the
                  List of Certified Mediators, which designation shall be made on a blind rotation
                  basis.

               c. A place, date, and time for mediation convenient to the mediator, counsel of
                  record, the parties themselves, and any unrepresented parties shall be
                  established. Upon mutual agreement on a place, date, and time for mediation,
                  the lead attorney shall complete the form order given in Local Rule 16.2.H and
                  submit it to the Court.

               d. Pursuant to Local Rule 16.2.E, the appearance of counsel and each party or
                  representatives of each party with full authority to enter into a full and complete
                  compromise and settlement is mandatory at the mediation. If insurance is
                  involved, an adjuster with authority up to the policy limits or the most recent
                  demand, whichever is lower, shall attend the mediation.

               e. All proceedings of the mediation shall be confidential and privileged.

               f. At least fourteen (14) days prior to the mediation date, or by such other deadline
                  established by the mediator, each party shall present to the mediator a
                  confidential brief written summary of the case identifying issues to be resolved.

               g. The Court may impose sanctions against parties and/or counsel who do not
                  comply with the attendance or settlement authority requirements herein or who
                  otherwise violate the terms of this Order. The mediator shall report non-
                  attendance and may recommend imposition of sanctions by the Court for non-
                  attendance.

               h. The mediator shall be compensated in accordance with the standing order of the
                  Court entered pursuant to Rule 16.2.B.6, or on such basis as may be agreed to in
                  writing by the parties and the mediator selected by the parties. The cost of


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                    mediation shall be shared equally by the parties unless otherwise ordered by the
                    Court. All payments shall be remitted to the mediator within forty-five (45)
                    days of the date of the mediator’s bill. Notice to the mediator of cancellation or
                    settlement prior to the scheduled mediation conference must be given at least
                    three (3) full business days in advance. Failure to do so will result in imposition
                    of a fee for two hours of the mediator’s time.

               i.   If a full or partial settlement is reached in this case, counsel shall promptly notify
                    the Court of the settlement in accordance with Local Rule 16.2.F, by the filing
                    of a Notice of Settlement signed by counsel of record within ten (10) days of the
                    mediation conference. Thereafter, the parties shall forthwith submit an
                    appropriate pleading concluding the case.

               j.   Within seven (7) days following the mediation conference, the mediator shall file
                    a Mediation Report indicating whether all required parties were present. The
                    report shall also indicate whether the case settled (in full or in part), was
                    adjourned, or whether the mediator declared an impasse.

               k. If mediation is not conducted, the case may be stricken from the trial calendar,
                  and other sanctions may be imposed.

                                  Discovery Referred to Magistrate Judge

          7.        In accordance with 28 U.S.C. § 636 and the Magistrate Rules of the Local Rules of

   the Southern District of Florida, the above-captioned cause is referred to United States Magistrate

   Judge David Lee Brannon for appropriate disposition of all pretrial discovery motions and all

   motions that relate directly to these motions, such as motions for extension of time, motions for

   reconsideration, motions for sanctions, and motions for mental or physical examinations. This

   Order does not refer any motion which requests a continuance or extension of the trial or pretrial

   scheduling dates.

                                                 Trial Exhibits

          8.        Trial exhibits must be pre-marked and exchanged prior to execution of the Pretrial

   Stipulation. Each trial exhibit should be marked with a sticker identifying the case number, exhibit

   number, and party offering the exhibit.




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                 Jury Instructions or Proposed Findings of Fact and Conclusions of Law

           9.       In cases tried before a jury, each party shall submit joint, stipulated proposed jury

   instructions and a joint, stipulated proposed verdict form in hard copy form and on CD in

   Microsoft Word format. All requested instructions shall be typed on a separate page, and except for

   Eleventh Circuit Pattern instructions, must be supported by citations of authority. Any objections

   to the proposed instructions shall be stated clearly and concisely and also shall be supported by

   citations of authority.

           Alternatively, in cases tried before the Court, each party shall file proposed Findings of Fact

   and Conclusions of Law in hard copy form and on CD in Microsoft Word format. Proposed

   Conclusions of Law must be supported by citations of authority.

                                                 Settlement

           10.      If a case is settled, counsel for the Parties are directed to inform the Court promptly

   at (561) 514-3720 and to submit an appropriate stipulation for an Order for Dismissal, pursuant to

   Fed.R.Civ.P. 41(a)(1). Such an Order must be filed within ten (10) days of notification of the Court.


           DONE AND ORDERED in Chambers in West Palm Beach, Palm Beach County, Florida

   this ______ day of _________________, 2018.

                                                            ____________________________________
                                                            DONALD M. MIDDLEBROOKS
                                                            United States District Judge
   Copies furnished to:
     All counsel of Record
     Magistrate Judge Brannon




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